Case 2:20-cv-08336-SDW-LDW Document 24 Filed 09/18/20 Page 1 of 2 PageID: 114

                                       Law Offices of
                               Walter M. Luers, LLC
                                        The Corbit Building
                                     67 Beaver Avenue, Suite 18
                                    Annandale, New Jersey 08801
                                      Telephone: 908.894.5656
                                      Facsimile: 908.894.5729
                                         www.luerslaw.com

 September 17, 2020                                                                    Walter M. Luers, Esq.*

                                                                                  *Also admitted in New York

                                                                   Writer’s Direct Email: wluers@luerslaw.com
VIA CM/ECF

 Hon. Susan D. Wigenton, U.S.D.J.
 United States District Court
 District of New Jersey
 Martin Luther King Building
 50 Walnut Street
 Newark, New Jersey 07102

               Re:     Mazo, et al. v. Durkin, et al.
                       Docket No. 2:20-cv-08336-SDW-LDW

Dear Judge Wigenton:

               We represent the Plaintiff in the above-referenced action. Currently pending
before the Court is the motion to dismiss of Defendant Joanne Rajoppi, which is currently
returnable October 19, 2020, and has been adjourned once. In addition, Defendant Way must
answer or move by September 18, 2020, but is about to file a thirty-day request for an extension;
Defendant Maldonado must answer or move by September 30, 2020; and Defendant Durkin must
answer or move by October 5, 2020.

               To reduce the burden on the Court and for the relative convenience of the Court
and parties, we request that the pending motion to dismiss be adjourned and be made returnable
November 16, 2020, so as to synchronize the briefing schedules of the pending motion to dismiss
with the motions to dismiss that we anticipate all of the remaining defendants will make. This
should yield a benefit to the Court by permitting the Court to decide all similar motions at the
same time, rather than in groups of one, two or three.

               All of the Defendants have consented to our request.

              If our request is granted, then the new date for Plaintiff to serve and file their
opposition papers to any pending motion to dismiss would be November 2, 2020, and the new
date for Defendants to serve and file their reply papers would be November 9, 2020.
Case 2:20-cv-08336-SDW-LDW Document 24 Filed 09/18/20 Page 2 of 2 PageID: 115

Hon. Susan D. Wigenton, U.S.D.J.
Page 2 of 2
September 17, 2020

             Thank you for your consideration of our request.

                                                  Respectfully submitted,

                                                  /s/ Walter M. Luers

                                                  Walter M. Luers


cc:   Counsel of Record


                                   Plaintiff's request is DENIED.
                                   SO ORDERED.*
                                   s/ Susan D. Wigenton
                                   Hon. Susan D. Wigenton
                                   United States District Judge
                                   Dated: September 18, 2020

                                   *The Court denies Plaintiff's request to adjourn the October 5,
                                   2020, return date (see D.E. 21), as it is not clear that Defendants
                                   Way, Maldonado, and Durkin will file motions to dismiss.
                                   Plaintiff may request an extension to the extent he needs
                                   additional time to file an opposition.
